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     AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                           UNITED STATES DISTRICT COURT
                                                                         for the
              In the Matter of the Search of                    DistrictDistrict
                                                           __________    of Columbia
                                                                                 of __________
          (Briefly describe the property to be searched
           or identify the person by name and address)
                                                                                       )
       IN THE MATTER OF THE SEARCH OF INFORMATION                                      )
      ASSOCIATED WITH ONE FACEBOOK, INC. ACCOUNT                                       )         Case No. 21-sc-657
     PURSUANT TO 18 U.S.C. § 2703 FOR INVESTIGATION OF                                 )
              VIOLATION OF 18 U.S.C. § 1512(c)(2)
                                                                                       )
                                                                                       )

         APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
             I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
     penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
     property to be searched and give its location):
       Facebook, Inc. account identified by User Name: “Derek Jancart,” User ID: 100000415172654, and which is stored at
       Facebook, Inc., (See Attachment A)
     located in the        Northern         District of          California           , there is now concealed (identify the
     person or describe the property to be seized):
      violations of 18 U.S.C. §§ 1512(c)(2), 111, 231, 371, 372, 930, 641,1361, 2101, 1752(a)(1) and (2) and 40 U.S.C. §
      5104(e)(2) (See Attachment B)

               The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                    ✔ evidence of a crime;
                    u
                    u contraband, fruits of crime, or other items illegally possessed;
                      u property designed for use, intended for use, or used in committing a crime;
                      u a person to be arrested or a person who is unlawfully restrained.
               The search is related to a violation of:
                  Code Section                                                               Offense Description
18 U.S.C. §§ 1512(c)(2), 111, 231, 371, 372               obstruction of Congress, assaulting a federal agent, civil disorders, conspiracy to
18 U.S.C. §§ 930, 641, 1361, 2101                         impede or injure officer; possession of firearms, theft of government property,
1752(a)(1) and (2), 40 U.S.C. § 5104(e)(2)                destruction of government property, violet entry, interstate travel to participate in riot
               The application is based on these facts:
             SEE AFFIDAVIT


                u Continued on the attached sheet.
                u Delayed notice of        days (give exact ending date if more than 30 days:                                    ) is   requested under
                  18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                           Applicant’s signature

                                                                                                   Stuart Bronstein, FBI Special Agent
                                                                                                           Printed name and title

     Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                         TELEPHONE                         (specify reliable electronic means).


     Date:            02/25/2021
                                                                                                             Judge’s signature

     City and state: Washington, D.C.                                                       Robin M. Meriweather, U.S. Magistrate Judge
                                                                                                           Printed name and title
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AO 93C () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV               u Original                u Duplicate Original


                                           UNITED STATES DISTRICT COURT
                                                                         for the
                                                                District
                                                          __________     of Columbia
                                                                     District of __________
              In the Matter of the Search of
          (Briefly describe the property to be searched                     )
           or identify the person by name and address)                      )
  IN THE MATTER OF THE SEARCH OF INFORMATION                                )      Case No. 21-sc-657
 ASSOCIATED WITH ONE FACEBOOK, INC. ACCOUNT                                 )
PURSUANT TO 18 U.S.C. § 2703 FOR INVESTIGATION OF
                                                                            )
         VIOLATION OF 18 U.S.C. § 1512(c)(2)
                                                                            )

                 :$55$17%<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the searchDQGVHL]XUH
of the following person or property located in the                        Northern  District of            California
(identify the person or describe the property to be searched and give its location):
  a Facebook, Inc. account identified by User Name: “Derek Jancart,” User ID: 100000415172654, and which is stored at
  premises owned, maintained, controlled, or operated by Facebook, Inc., a company that accepts service of legal process at
  1601 Willow Road, Menlo Park, California. (See Attachment A)



        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
  violations of 18 U.S.C. § 1512(c)(2) (obstruction of Congress); 111 (assaulting a federal agent); 231 (civil disorders), 371
  (conspiracy); 372 (conspiracy to impede or injure officer); 930 (possession of firearms and dangerous weapons in federal
  facilities); 641 (theft of government property); 1361 (destruction of government property); 2101 (interstate travel to participate in
  riot); 1752(a)(1) and (2) (unlawful entry on restricted buildings or grounds); and 40 U.S.C. § 5104(e)(2) (violent entry, disorderly
  conduct, and other offenses on capitol grounds) (See Attachment B)


        YOU ARE COMMANDED to execute this warrant on or before                  March 11, 2021         (not to exceed 14 days)
      u in the daytime 6:00 a.m. to 10:00 p.m. ✔
                                               u at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to          Robin M. Meriweather, U.S. Magistrate Judge        .
                                                                                                  (United States Magistrate Judge)

     u Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     u for         days (not to exceed 30) u until, the facts justifying, the later specific date of                                   .


Date and time issued:          02/25/2021
                                                                                                          Judge’s signature

City and state: Washington, D.C.                                                       Robin M. Meriweather, U.S. Magistrate Judge
                                                                                                        Printed name and title
                           Case 1:21-sc-00657-RMM Document 1 Filed 02/25/21 Page 3 of 41
AO 93& () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV(Page 2)

                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:
 21-sc-657
Inventory made in the presence of :

Inventory of the property taken and name V of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title
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                                    ATTACHMENT A
                                  Property to Be Searched


       This warrant applies to information which is associated with a Facebook, Inc. account

identified by User Name: “Derek Jancart,” User ID: 100000415172654, and which is stored at

premises owned, maintained, controlled, or operated by Facebook, Inc., a company that accepts

service of legal process at 1601 Willow Road, Menlo Park, California.
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                                      ATTACHMENT B

                       Particular Things to be Seized and Procedures
                           to Facilitate Execution of the Warrant

   I.      Information to be disclosed by Facebook, Inc. (“PROVIDER”) to facilitate
           execution of the warrant

        To the extent that the information described in Attachment A is within the possession,

custody, or control of PROVIDER, including any records that have been deleted but are still

available to PROVIDER, or have been preserved pursuant to a request made under 18 U.S.C.

§ 2703(f), PROVIDER is required to disclose the following information to the government

corresponding to each account or identifier (“Account”) listed in Attachment A:

        a. For the time period September 1, 2020 to Present: The contents of any available

           messages or other communication associated with the Account (including, but not

           limited to, messages, attachments, draft messages, posts, chats, video calling history,

           “friend” requests, discussions, recordings, images, or communications of any kind sent

           to and from the Account, including stored or preserved copies thereof) and related

           transactional records for all PROVIDER services used by an Account subscriber/user,

           including the source and destination addresses and all Internet Protocol (“IP”)

           addresses associated with each message or other communication, the date and time at

           which each message or other communication was sent, and the size and length of each

           message or other communication;

        b. For the time period September 1, 2020 to Present: All photos and videos uploaded by

           the Account and all photos or videos uploaded in which the Account has been “tagged”,

           including Exchangeable Image File (“EXIF”) data and any other metadata associated

           with those photos and videos;
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c. Basic subscriber records and login history, including all records or other information

   regarding the identification of the Account, to include full name, physical address,

   telephone numbers, birthdate, security questions and passwords, and other personal

   identifying information, records of session times and durations, the date on which the

   Account was created, the length of service, types of services utilized by the Account,

   the IP address used to register the Account, log-in IP addresses associated with session

   times and dates, account status, alternative e-mail addresses provided during

   registration, methods of connecting, log files, means and source of payment (including

   any credit or bank account number), and any account(s) linked by machine cookies

   (meaning all Facebook user identification numbers (“user IDs”) that logged into

   Facebook by the same machine as the Account;

d. For the time period September 1, 2020 to Present: All records or other information

   related to the Account, including address books, contact and “friend” lists, calendar

   data, and files; profile information; “News Feed” information; “Wall” postings; Notes;

   groups and networks of which the Account is a member; future and past event postings;

   rejected “friend” requests and blocked users; status updates (including relationship

   status updates); comments; gifts; “pokes”; “tags”; the account’s usage of the “like”

   feature, including all Facebook posts and all non-Facebook webpages and content that

   the user has “liked”; searches performed by the Account; privacy settings, including

   privacy settings for individual Facebook posts and activities; information about the

   Account’s access and use of Facebook applications; and the Account’s access and use

   of Facebook Marketplace;
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e. For the time period September 1, 2020 to Present: All “check ins” and other location

   information;

f. For the time period September 1, 2020 to Present: All records pertaining to

   communications between PROVIDER and any person regarding the Account,

   including contacts with support services and records of actions taken;

g. All records pertaining to devices associated with the Account and software used to

   create and access the Account, including device serial numbers, instrument numbers,

   model types/numbers, International Mobile Equipment Identities (“IMEI”), Mobile

   Equipment Identifiers (“MEID”), Global Unique Identifiers (“GUID”), Electronic

   Serial Numbers (“ESN”), Android Device IDs, phone numbers, Media Access Control

   (“MAC”) addresses, operating system information, browser information, mobile

   network information, information regarding cookies and similar technologies, and any

   other unique identifiers that would assist in identifying any such device(s), including

   unique application numbers and push notification tokens associated with the Account

   (including Apple Push Notifications (“APN”), Google Cloud Messaging (“GCM”),

   Microsoft Push Notification Service (“MPNS”), Windows Push Notification Service

   (“WNS”), Amazon Device Messaging (“ADM”), Firebase Cloud Messaging (“FCM”),

   and Baidu Cloud Push);

h. For the time period September 1, 2020 to Present: All information held by

   PROVIDER related to the location and location history of the user(s) of the Account,

   including geographic locations associated with the Account (including those

   collected for non-PROVIDER based applications), IP addresses, Global

   Positioning System (“GPS”) information, and information pertaining to nearby

   devices, Wi-Fi access points, and cell towers; and
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       i. Information about any complaint, alert, or other indication of malware, fraud, or terms

           of service violation related to the Account or associated user(s), including any

           memoranda, correspondence, investigation files, or records of meetings or discussions

           about the Account or associated user(s) (but not including confidential communications

           with legal counsel).



       Within SEVEN (7) days of the issuance of this warrant, PROVIDER shall deliver the

information set forth above via United States mail, courier, or e-mail to the following:

       Special Agent Stuart M Bronstein
       425 W. Nationwide Blvd
       Columbus, Ohio 43215
       Email: smbronstein@fbi.gov
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   II.      Information to be seized by the government

         All information described above in Section I that constitutes fruits, contraband, evidence

and instrumentalities of violations of 18 U.S.C. § 1512(c)(2) (obstruction of Congress); 111

(assaulting a federal agent); 231 (civil disorders), 371 (conspiracy); 372 (conspiracy to impede or

injure officer); 930 (possession of firearms and dangerous weapons in federal facilities); 641 (theft

of government property); 1361 (destruction of government property); 2101 (interstate travel to

participate in riot); 1752(a)(1) and (2) (unlawful entry on restricted buildings or grounds); and 40

U.S.C. § 5104(e)(2) (violent entry, disorderly conduct, and other offenses on capitol grounds) as

described in the affidavit submitted in support of this Warrant, including, for each Account,

information pertaining to the following matters:

            (a) Information that constitutes evidence of the identification or location of the user(s)

                of the Account;

            (b) Information that constitutes evidence concerning persons who either (i)

                collaborated, conspired, or assisted (knowingly or unknowingly) the commission

                of the criminal activity under investigation; or (ii) communicated with the Account

                about matters relating to the criminal activity under investigation, including records

                that help reveal their whereabouts;

            (c) Information that constitutes evidence indicating the Account user’s state of mind,

                e.g., intent, absence of mistake, or evidence indicating preparation or planning,

                related to the criminal activity under investigation;

            (d) Information that constitutes evidence concerning how and when the Account was

                accessed or used, to determine the geographic and chronological context of account
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     access, use, and events relating to the crime under investigation and to the Account

     user;

  (e) Information that constitutes evidence concerning the unlawful entry into the Capitol

     on January 6, 2021, disorderly conduct within the Capitol on January 6, 2021, acts

     of obstruction within the Capitol on January 6, 2021, other crimes committed by

     participants in the January 6, 2021 riot including destruction of property and assault

     on police officers, and evidence of any planning or agreement regarding events at

     the Capitol on January 6, 2021, including any information shared or received

     regarding the events on January 6, 2021.

  (f) The Identity of any person(s) who communicated with the user ID about matters

     relating to the above items including records that may help reveal their whereabouts

     or preplanned actions.
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   III.      Government procedures for warrant execution

          The United States government will conduct a search of the information produced by the

PROVIDER and determine which information is within the scope of the information to be seized

specified in Section II. That information that is within the scope of Section II may be copied and

retained by the United States.

          Law enforcement personnel will then seal any information from the PROVIDER that does

not fall within the scope of Section II and will not further review the information absent an order

of the Court. Such sealed information may include retaining a digital copy of all information

received pursuant to the warrant to be used for authentication at trial, as needed.
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



   IN THE MATTER OF THE SEARCH
   OF INFORMATION ASSOCIATED                      SC No. 21-SC-657
   WITH ONE FACEBOOK, INC.
   ACCOUNT PURSUANT TO 18 U.S.C.
   § 2703 FOR INVESTIGATION OF
   VIOLATION OF 18 U.S.C. § 1512(c)(2)



                            AFFIDAVIT IN SUPPORT OF
                     AN APPLICATION FOR A SEARCH WARRANT

       I, Stuart Bronstein being first duly sworn, hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

       1.       I make this affidavit in support of an application for a search warrant for

information which is associated with an account– that is, Facebook User Name: “Derek Jancart,”

User ID: 100000415172654 (“TARGET ACCOUNT”) – which is stored at premises controlled by

Facebook, Inc. (“PROVIDER”), an electronic communications services provider and/or remote

computing services provider which is headquartered at / which accepts service at 1601 Willow

Road, Menlo Park, California. The information to be searched is described in the following

paragraphs and in Attachment A. This affidavit is made in support of an application for a search

warrant under 18 U.S.C. §§ 2703(a), 2703(b)(1)(A), and 2703(c)(1)(A) to require PROVIDER to

disclose to the government copies of the information (including the content of communications)

further described in Section I of Attachment B. Upon receipt of the information described in

Section I of Attachment B, government-authorized persons will review that information to locate

the items described in Section II of Attachment B, using the procedures described in Section III of

Attachment B.
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       2.      I am a Special Agent with the Federal Bureau of Investigation. I have been in this

position since June of 2014. Prior to June 2014, I was a Police Officer with the Memphis Police

Department, Memphis, TN for ten (10) years. I have investigated numerous crimes including, but

not limited to bank robbery, drug trafficking, aggravated assaults, criminal trespass, and property

crimes. While performing my duties as a Special Agent, I have participated in various

investigations involving computer-related offenses and have executed search warrants, including

searches and seizures of computers, smart phones, digital media, software, and electronically

stored information. I have received both formal and informal training in the detection and

investigation of offensives utilizing electronic media. As a federal agent, I am authorized to

investigate violations of laws of the United States, and as a law enforcement officer I am authorized

to execute warrants issued under the authority of the United States.

       3.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents, witnesses, and agencies. This affidavit is

intended to show merely that there is sufficient probable cause for the requested warrant. It does

not set forth all of my knowledge, or the knowledge of others, about this matter.

       4.      Based on my training and experience and the facts as set forth in this affidavit, I

respectfully submit that there is probable cause to believe that violations of 18 U.S.C. § 1512(c)(2)

(obstruction of Congress); 111 (assaulting a federal agent); 231 (civil disorders), 371 (conspiracy);

372 (conspiracy to impede or injure officer); 930 (possession of firearms and dangerous weapons

in federal facilities); 641 (theft of government property); 1361 (destruction of government

property); 2101 (interstate travel to participate in riot); 1752(a)(1) and (2) (unlawful entry on

restricted buildings or grounds); and 40 U.S.C. § 5104(e)(2) (violent entry, disorderly conduct,

and other offenses on capitol grounds) (the “Target Offenses”) have been committed by DEREK



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JANCART (“the Subject”) and other identified and unidentified persons, including others who

may have been aided and abetted by, or conspiring with, the Subject, as well as others observed

by the Subject. There is also probable cause to search the information described in Attachment A

for evidence, instrumentalities, contraband or fruits of these crimes further described in

Attachment B.

                                           JURISDICTION

        5.      This Court has jurisdiction to issue the requested warrant because it is a “court of

competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(1)(A), and

(c)(1)(A). Specifically, the Court is “a district court of the United States . . . that – has jurisdiction

over the offense being investigated.” 18 U.S.C. § 2711(3)(A)(i). As discussed more fully below,

acts or omissions in furtherance of the offenses under investigation occurred within Washington,

DC. See 18 U.S.C. § 3237.

                                        PROBABLE CAUSE

                        Background – The U.S. Capitol on January 6, 2021

        6.      USCP, the FBI, and assisting law enforcement agencies are investigating a riot and

related offenses that occurred at the United States Capitol Building, located at 1 First Street, NW,

Washington, D.C., 20510 at latitude 38.88997 and longitude -77.00906 on January 6, 2021.

        7.      At the U.S. Capitol, the building itself has 540 rooms covering 175,170 square feet

of ground, roughly four acres. The building is 751 feet long (roughly 228 meters) from north to

south and 350 feet wide (106 meters) at its widest point. The U.S. Capitol Visitor Center is 580,000

square feet and is located underground on the east side of the Capitol. On the west side of the

Capitol building is the West Front, which includes the inaugural stage scaffolding, a variety of

open concrete spaces, a fountain surrounded by a walkway, two broad staircases, and multiple



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terraces at each floor. On the East Front are three staircases, porticos on both the House and Senate

side, and two large skylights into the Visitor’s Center surrounded by a concrete parkway. All of

this area was barricaded and off limits to the public on January 6, 2021.

       8.        The U.S. Capitol is secured 24 hours a day by USCP. Restrictions around the U.S.

Capitol include permanent and temporary security barriers and posts manned by USCP. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.

       9.        On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members

of the public.

       10.       On January 6, 2021, a joint session of the United States Congress convened at the

U.S. Capitol.     During the joint session, elected members of the United States House of

Representatives and the United States Senate were meeting in separate chambers of the U.S.

Capitol to certify the vote count of the Electoral College of the 2020 Presidential Election, which

took place on November 3, 2020 (“Certification”). The joint session began at approximately 1:00

p.m. Eastern Standard Time (EST). Shortly thereafter, by approximately 1:30 p.m., the House and

Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike

Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       11.       As the proceedings continued in both the House and the Senate, and with Vice

President Mike Pence present and presiding over the Senate, a large crowd gathered outside the

U.S. Capitol. As noted above, temporary and permanent barricades were in place around the

exterior of the U.S. Capitol building, and USCP were present and attempting to keep the crowd

away from the Capitol building and the proceedings underway inside.




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       12.     At around 1:00 p.m. EST, known and unknown individuals broke through the police

lines, toppled the outside barricades protecting the U.S. Capitol, and pushed past USCP and

supporting law enforcement officers there to protect the U.S. Capitol.

       13.     At around 1:30 p.m. EST, USCP ordered Congressional staff to evacuate the House

Cannon Office Building and the Library of Congress James Madison Memorial Building in part

because of a suspicious package found nearby. Pipe bombs were later found near both the

Democratic National Committee and Republican National Committee headquarters.

       14.     Media reporting showed a group of individuals outside of the Capitol chanting,

“Hang Mike Pence.” I know from this investigation that some individuals believed that Vice

President Pence possessed the ability to prevent the certification of the presidential election and

that his failure to do so made him a traitor.

       15.     At approximately 2:00 p.m., some people in the crowd forced their way through,

up, and over the barricades and law enforcement. The crowd advanced to the exterior façade of

the building. The crowd was not lawfully authorized to enter or remain in the building and, prior

to entering the building, no members of the crowd submitted to security screenings or weapons

checks by U.S. Capitol Police Officers or other authorized security officials. At such time, the

certification proceedings were still underway and the exterior doors and windows of the U.S.

Capitol were locked or otherwise secured. Members of law enforcement attempted to maintain

order and keep the crowd from entering the Capitol.

       16.     Shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol,

including by breaking windows and by assaulting members of law enforcement, as others in the

crowd encouraged and assisted those acts. Publicly available video footage shows an unknown




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individual saying to a crowd outside the Capitol building, “We’re gonna fucking take this,” which

your affiant believes was a reference to “taking” the U.S. Capitol.




       17.     Shortly thereafter, at approximately 2:20 p.m. members of the United States House

of Representatives and United States Senate, including the President of the Senate, Vice President

Mike Pence, were instructed to—and did—evacuate the chambers. That is, at or about this time,

USCP ordered all nearby staff, Senators, and reporters into the Senate chamber and locked it down.

USCP ordered a similar lockdown in the House chamber. As the subjects attempted to break into

the House chamber, by breaking the windows on the chamber door, law enforcement were forced

to draw their weapons to protect the victims sheltering inside.

       18.     At approximately 2:30 p.m. EST, known and unknown subjects broke windows and

pushed past USCP and supporting law enforcement officers forcing their way into the U.S. Capitol

on both the west side and the east side of the building. Once inside, the subjects broke windows

and doors, destroyed property, stole property, and assaulted federal police officers. Many of the

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federal police officers were injured, several were admitted to the hospital, and at least one federal

police officer died as a result of the injuries he sustained. The subjects also confronted and

terrorized members of Congress, Congressional staff, and the media. The subjects carried weapons

including tire irons, sledgehammers, bear spray, and Tasers. They also took police equipment

from overrun police including shields and police batons. At least one of the subjects carried a

handgun with an extended magazine. These actions by the unknown individuals resulted in the

disruption and ultimate delay of the vote Certification.

          19.   Also at approximately 2:30 p.m. EST, USCP ordered the evacuation of lawmakers,

Vice President Mike Pence, and president pro tempore of the Senate, Charles Grassley, for their

safety.

          20.   At around 2:45 p.m. EST, subjects broke into the office of House Speaker Nancy

Pelosi.

          21.   At around 2:47 p.m., subjects broke into the United States Senate Chamber.

Publicly available video shows an individual asking, “Where are they?” as they opened up the door

to the Senate Chamber. Based upon the context, law enforcement believes that the word “they” is

in reference to members of Congress.




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       22.    After subjects forced entry into the Senate Chamber, publicly available video shows

that an individual asked, “Where the fuck is Nancy?” Based upon other comments and the context,

law enforcement believes that the “Nancy” being referenced was the Speaker of the House of

Representatives, Nancy Pelosi.




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       23.    An unknown subject left a note on the podium on the floor of the Senate Chamber.

This note, captured by the filming reporter, stated “A Matter of Time Justice is Coming.”




       24.    During the time when the subjects were inside the Capitol building, multiple

subjects were observed inside the US Capitol wearing what appears to be, based upon my training

and experience, tactical vests and carrying flex cuffs. Based upon my knowledge, training, and

experience, I know that flex cuffs are a manner of restraint that are designed to be carried in

situations where a large number of individuals were expected to be taken into custody.




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       25.    At around 2:48 p.m. EST, DC Mayor Muriel Bowser announced a citywide curfew

beginning at 6:00 p.m.


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       26.     At around 2:45 p.m. EST, one subject was shot and killed while attempting to break

into the House chamber through the broken windows.

       27.     At about 3:25 p.m. EST, law enforcement officers cleared the Senate floor.

       28.     Between 3:25 and around 6:30 p.m. EST, law enforcement was able to clear the

U.S. Capitol of all of the subjects.

       29.     Based on these events, all proceedings of the United States Congress, including the

joint session, were effectively suspended until shortly after 8:00 p.m. the same day. In light of the

dangerous circumstances caused by the unlawful entry to the U.S. Capitol, including the danger

posed by individuals who had entered the U.S. Capitol without any security screening or weapons

check, Congressional proceedings could not resume until after every unauthorized occupant had

left the U.S. Capitol, and the building had been confirmed secured. The proceedings resumed at

approximately 8:00 pm after the building had been secured. Vice President Pence remained in the

United States Capitol from the time he was evacuated from the Senate Chamber until the session

resumed.

       30.     Beginning around 8:00 p.m., the Senate resumed work on the Certification.

       31.     Beginning around 9:00 p.m., the House resumed work on the Certification.

       32.     Both chambers of Congress met and worked on the Certification within the Capitol

building until approximately 3 a.m. on January 7, 2021.

       33.     During national news coverage of the aforementioned events, video footage which

appeared to be captured on mobile devices of persons present on the scene depicted evidence of

violations of local and federal law, including scores of individuals inside the U.S. Capitol building

without authority to be there.




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       34.     Based on my training and experience, I know that it is common for individuals to

carry and use their cell phones during large gatherings, such as the gathering that occurred in the

area of the U.S. Capitol on January 6, 2021. Such phones are typically carried at such gatherings

to allow individuals to capture photographs and video footage of the gatherings, to communicate

with other individuals about the gatherings, to coordinate with other participants at the gatherings,

and to post on social media and digital forums about the gatherings.

       35.     Many subjects seen on news footage in the area of the U.S. Capitol are using a cell

phone in some capacity. It appears some subjects were recording the events occurring in and

around the U.S. Capitol and others appear to be taking photos, to include photos and video of

themselves after breaking into the U.S. Capitol itself, including photos of themselves damaging

and stealing property. As reported in the news media, others inside and immediately outside the

U.S. Capitol live-streamed their activities, including those described above as well as statements

about these activities.

       36.     Photos below, available on various publicly available news, social media, and other

media show some of the subjects within the U.S. Capitol during the riot. In several of these photos,

the individuals who broke into the U.S. Capitol can be seen holding and using cell phones,

including to take pictures and/or videos:




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                                                                                                                1




                                                                                                                    2




1
    https://losangeles.cbslocal.com/2021/01/06/congresswoman-capitol-building-takeover-an-attempted-coup/
2
    https://www.businessinsider.com/republicans-objecting-to-electoral-votes-in-congress-live-updates-2021-1.


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                                                                                                     3



                                   Facts Specific to This Application

        37.     On January 9, 2021, a concerned citizen, C-1 provided a tip to the FBI that

Facebook User “Derek Jancart” posted on Facebook images from the Capitol riot inside the U.S.

Capitol Building, specifically, a photograph from outside the Office of the Speaker conference

room. The Facebook post (shown in the Facebook Screenshot, below) was captioned “we’re in”.

C-1 is a former co-worker of DEREK JANCART.




3
 https://www.thv11.com/article/news/arkansas-man-storms-capitol-pelosi/91-41abde60-a390-4a9e-b5f3-
d80b0b96141e


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                                     Facebook Screenshot

       38.    On February 9, 2021, during a follow up interview, C-1 was shown the below

photographs which included screen captures from Metropolitan Police Department body worn

camera and Capital Building Security Camera footage (including Photos 1 through 5, below).

Also included was a picture of the original screen capture provided in C-1’s complaint, as shown

above. C-1 positively identified DEREK JANCART in each picture as well as his/her original

submission to the FBI.




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                           Photo 1




                           Photo 2




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                           Photo 3




                           Photo 4




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                                            Photo 5

       39.     On February 10, 2021, a concerned citizen, C-2, a family member of DEREK

JANCART, was interviewed and advised that he/she provided a tip to the FBI (01/10/21), that

his/her family member, DEREK JANCART, was at and inside the U.S. Capitol during the events

of January 6, 2021. C-2 received a phone call from another family member, who advised that

DEREK JANCART was inside the Capitol building. C-2 contacted DEREK JANCART via text

message. Your affiant has reviewed the text message exchange between C-2 and DEREK

JANCART, and saw that DEREK JANCART confirmed his presence inside of the Capitol. C-2

was shown the above photographs and positively identified DEREK JANCART in all

photographs except for Photo 2, above. C-2 also positively identified the Facebook post in front

of the Office of the Speaker conference room as the post from JANCART’S Facebook account.

       40.     Records subpoenaed from AT&T show that DEREK JANCART is the subscriber

of a cellular phone number ending in 4899. The records from AT&T also showed the subscriber

listed an email address of spoonze22@yahoo.com.


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       41.     According to records obtained through a search warrant which was served on

A&T, on January 6, 2021, in and around the time of the incident, that same cell phone number,

ending in 4899, was identified as having utilized a cell site consistent with providing service to a

geographic area that includes the interior of the United States Capitol Building.

       42.     Records subpoenaed from Facebook showed that the subscriber of the TARGET

ACCOUNT is DEREK JANCART. The records showed the subscriber provided an email address

of spoonze22@yahoo.com and the same telephone number ending in 4899 referenced above.

       43.     On February 5, 2021, PROVIDER was served with a preservation letter under 18

U.S.C. § 2703(f) related to the TARGET ACCOUNT.

       44.     Based on the foregoing I submit that there is probable cause that fruits, contraband,

evidence and instrumentalities of the Target Offenses will be found in the TARGET ACCOUNT.

               BACKGROUND CONCERNING PROVIDER’S ACCOUNTS

       45.     PROVIDER is the provider of the TARGET ACCOUNT.

       46.     PROVIDER owns and operates a free-access social networking website of the same

name that can be accessed at http://www.facebook.com (“Facebook”). The website is owned and

operated by PROVIDER.         PROVIDER allows Facebook users to establish accounts with

PROVIDER, and users can then use their Facebook accounts to share written news, photographs,

videos, and other information with other Facebook users, and sometimes with the general public.

       47.     PROVIDER asks users to provide basic contact and personal identifying

information to PROVIDER, either during the registration process or thereafter. This information

may include the user’s full name, birth date, gender, contact e-mail addresses, Facebook

passwords, Facebook security questions and answers (for password retrieval), physical address

(including city, state, and zip code), telephone numbers, screen names, websites, and other



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personal identifiers. PROVIDER also assigns a user-identification number (“user ID”) to each

account. PROVIDER identifies unique Facebook accounts by a user’s e-mail address, the user ID,

or the username associated with a Facebook profile.

       48.     Facebook users may join one or more groups or networks to connect and interact

with other users who are members of the same group or network. PROVIDER assigns a group

identification number to each Facebook group. A Facebook user can also connect directly with

individual Facebook users by sending each user a “friend” request. If the recipient of a “friend”

request accepts the request, then the two users will become “friends” for purposes of Facebook

and can exchange communications or view information about each other. Each Facebook user’s

account includes a list of that user’s “friends” and a “News Feed,” which highlights information

about the user’s “friends,” such as profile changes, upcoming events, and birthdays.

       49.     Facebook users can select different levels of privacy for the communications and

information associated with their Facebook accounts. By adjusting these privacy settings, a

Facebook user can make information available only to himself or herself, to particular Facebook

users, or to anyone with access to the Internet, including people who are not Facebook users. A

Facebook user can also create “lists” of Facebook “friends” to facilitate the application of these

privacy settings. Facebook accounts also include other account settings that users can adjust to

control, for example, the types of notifications they receive from Facebook.

       50.     Facebook users can create profiles that include photographs, lists of personal

interests, and other information. Facebook users can also post “status” updates about their

whereabouts and actions, as well as links to videos, photographs, articles, and other items available

elsewhere on the Internet. Facebook users can also post information about upcoming “events,”

such as social occasions, by listing the event’s time, location, host, and guest list. In addition,



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Facebook users can “check in” to particular locations or add their geographic locations to their

Facebook posts, thereby revealing their geographic locations at particular dates and times. A

particular user’s profile page also includes a “Wall,” which is a space where the user and his or

her “friends” can post messages, attachments, and links that will typically be visible to anyone

who can view the user’s profile.

       51.     PROVIDER allows Facebook users to upload photos and videos, which may

include any metadata such as location that the user transmitted when s/he uploaded the photo or

video. It also provides Facebook users the ability to “tag” (i.e., label) other Facebook users in a

photo or video. When a user is “tagged” in a photo or video, he or she receives a notification of

the “tag” and a link to see the photo or video. For PROVIDER’s purposes, the photos and videos

associated with a Facebook user’s account will include all photos and videos uploaded by that user

that have not been deleted, as well as all photos and videos uploaded by any user that have that

user “tagged” in them.

       52.     Facebook users can exchange private messages on Facebook with other

users. Those messages are stored by PROVIDER unless deleted by the user. Facebook users can

also post comments on the Facebook profiles of other users or on their own profiles; such

comments are typically associated with a specific posting or item on the profile. In addition,

Facebook has a chat feature that allows users to send and receive instant messages through

Facebook Messenger. These chat communications are stored in the chat history for the

account. Facebook also has Video and Voice Calling features, and although Facebook does not

record the calls themselves, it does keep records of the date of each call.

       53.     In general, user-generated content and information about the account (such as a

user’s photos, “status” updates, an activity log as described below, and the like) that is written



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using, stored on, sent from, or sent to a PROVIDER account can be indefinitely stored in

connection with that account, unless the subscriber deletes the material. Further, such user-

generated content can remain on PROVIDER’s servers indefinitely if not deleted by the subscriber,

and even after being deleted, it may continue to be available on PROVIDER’s servers for a certain

period of time.

       54.        A Facebook user also can send other Facebook users a notification indicating that

the recipient has been “poked”. Facebook “pokes” enable Facebook users to get the attention of

other Facebook users without delivering any user generated messages or other content.

       55.        If a Facebook user does not want to interact with another user on Facebook, the

first user can “block” the second user from seeing his or her account.

       56.        Facebook has a “like” feature that allows users to give positive feedback or connect

to particular pages. Facebook users can “like” Facebook posts or updates, as well as webpages or

content on third-party (i.e., non-Facebook) websites. Facebook users can also become “fans” of

particular Facebook pages.

       57.        Facebook has a search function that enables its users to search Facebook for

keywords, usernames, or pages, among other things.

       58.        Each Facebook account has an activity log, which is a list of the user’s posts and

other Facebook activities from the inception of the account to the present. The activity log includes

stories and photos in which the user has been “tagged”, as well as connections made through the

account, such as “liking” a Facebook page or adding someone as a “friend”. The activity log is

visible to the user but cannot be viewed by people who visit the user’s Facebook page.

       59.        Facebook also has a Marketplace feature, which allows users to post free classified

ads. Users can post items for sale, housing, jobs, and other items on the Marketplace.



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       60.     In addition to the applications described above, PROVIDER also provides

Facebook users with access to thousands of other applications (“apps”) on the Facebook

platform. When a Facebook user accesses or uses one of these applications, an update about that

the user’s access or use of that application may appear on the user’s profile page.

       61.     PROVIDER also retains Internet Protocol (“IP”) logs for a given Facebook user ID

or IP address. These logs may contain information about the actions taken by the user ID or IP

address on Facebook, including information about the type of action, the date and time of the

action, and the user ID and IP address associated with the action. For example, if a user views a

Facebook profile, that user’s IP log would reflect the fact that the user viewed the profile, and

would show when and from what IP address the user did so.

       62.     Depending on the user’s privacy settings, PROVIDER may also obtain and store

the physical location of the user’s device(s), including Global Positioning System (“GPS”) data,

as the user interacts with the Facebook service on those device(s).

       63.     Social networking providers like PROVIDER typically retain additional

information about their users’ accounts, such as information about the length of service (including

start date), the types of service utilized, and the means and source of any payments associated with

the service (including any credit card or bank account number). In some cases, Facebook users

may communicate directly with PROVIDER about issues relating to their accounts, such as

technical problems, billing inquiries, or complaints from other users. Social networking providers

like PROVIDER typically retain records about such communications, including records of

contacts between the user and the provider’s support services, as well as records of any actions

taken by the provider or user as a result of the communications.




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       64.     Based on my training and experience, I know that providers such as PROVIDER

also collect information relating to the devices used to access a subscriber’s account – such as

laptop or desktop computers, cell phones, and tablet computers. Such devices can be identified in

various ways. For example, some identifiers are assigned to a device by the manufacturer and

relate to the specific machine or “hardware,” some identifiers are assigned by a telephone carrier

concerning a particular user account for cellular data or voice services, and some identifiers are

actually assigned by PROVIDER in order to track what devices are using PROVIDER’s accounts

and services. Examples of these identifiers include unique application number, hardware model,

operating system version, Global Unique Identifier (“GUID”), device serial number, mobile

network information, telephone number, Media Access Control (“MAC”) address, and

International Mobile Equipment Identity (“IMEI”). Based on my training and experience, I know

that such identifiers may constitute evidence of the crimes under investigation because they can

be used (a) to find other PROVIDER accounts created or accessed by the same device and likely

belonging to the same user, (b) to find other types of accounts linked to the same device and user,

and (c) to determine whether a particular device recovered during course of the investigation was

used to access the PROVIDER account.

       65.     PROVIDER also allows its subscribers to access its various services through an

application that can be installed on and accessed via cellular telephones and other mobile devices.

This application is associated with the subscriber’s PROVIDER account. In my training and

experience, I have learned that when the user of a mobile application installs and launches the

application on a device (such as a cellular telephone), the application directs the device in question

to obtain a Push Token, a unique identifier that allows the provider associated with the application

(such as PROVIDER) to locate the device on which the application is installed. After the



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applicable push notification service (e.g., Apple Push Notifications (APN) or Google Cloud

Messaging) sends a Push Token to the device, the Token is then sent to the application, which in

turn sends the Push Token to the application’s server/provider. Thereafter, whenever the provider

needs to send notifications to the user’s device, it sends both the Push Token and the payload

associated with the notification (i.e., the substance of what needs to be sent by the application to

the device). To ensure this process works, Push Tokens associated with a subscriber’s account are

stored on the provider’s server(s). Accordingly, the computers of PROVIDER are likely to contain

useful information that may help to identify the specific device(s) used by a particular subscriber

to access the subscriber’s PROVIDER account via the mobile application.

       66.      Based on my training and experience, I know that providers such as PROVIDER

use cookies and similar technologies to track users visiting PROVIDER’s webpages and using its

products and services. Basically, a “cookie” is a small file containing a string of characters that a

website attempts to place onto a user’s computer. When that computer visits again, the website

will recognize the cookie and thereby identify the same user who visited before. This sort of

technology can be used to track users across multiple websites and online services belonging to

PROVIDER. More sophisticated cookie technology can be used to identify users across devices

and web browsers. From training and experience, I know that cookies and similar technology used

by providers such as PROVIDER may constitute evidence of the criminal activity under

investigation. By linking various accounts, devices, and online activity to the same user or users,

cookies and linked information can help identify who was using a PROVIDER account and

determine the scope of criminal activity.

       67.     Based on my training and experience, I know that PROVIDER maintains records

that can link different PROVIDER accounts to one another, by virtue of common identifiers, such



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as common e-mail addresses, common telephone numbers, common device identifiers, common

computer cookies, and common names or addresses, that can show a single person, or single group

of persons, used multiple PROVIDER accounts. Based on my training and experience, I also know

that evidence concerning the identity of such linked accounts can be useful evidence in identifying

the person or persons who have used a particular PROVIDER account.

         68.     Based on my training and experience, I know that subscribers can communicate

directly with PROVIDER about issues relating to the account, such as technical problems, billing

inquiries, or complaints from other users. Providers such as PROVIDER typically retain records

about such communications, including records of contacts between the user and the provider’s

support services, as well records of any actions taken by the provider or user as a result of the

communications. In my training and experience, such information may constitute evidence of the

crimes under investigation because the information can be used to identify the account’s user or

users.

         69.     In summary, based on my training and experience in this context, I believe that the

computers of PROVIDER are likely to contain user-generated content such as stored electronic

communications (including retrieved and unretrieved messages for PROVIDER subscribers), as

well as PROVIDER-generated information about its subscribers and their use of PROVIDER

services and other online services. In my training and experience, all of that information may

constitute evidence of the crimes under investigation because the information can be used to

identify the account’s user or users. In fact, even if subscribers provide PROVIDER with false

information about their identities, that false information often nevertheless provides clues to their

identities, locations, or illicit activities.




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       70.     As explained above, information stored in connection with a Facebook account may

provide crucial evidence of the “who, what, why, when, where, and how” of the criminal conduct

under investigation, thus enabling the investigating authorities to establish and prove each element

of the offense or, alternatively, to exclude the innocent from further suspicion. From my training

and experience, a Facebook user’s IP log, stored electronic communications, and other data

retained by PROVIDER, can indicate who has used or controlled the Facebook account. This

“user attribution” evidence is analogous to the search for “indicia of occupancy” while executing

a search warrant at a residence. For example, profile contact information, private messaging logs,

status updates, and “tagged” photos (and the data associated with the foregoing, such as date and

time) may indicate who used or controlled the Facebook account at a relevant time. Further,

Facebook account activity can show how and when the account was accessed or used. For

example, as described above, PROVIDER logs the IP addresses from which Facebook users access

their accounts along with the time and date. By determining the physical location associated with

the logged IP addresses, investigators can understand the chronological and geographic context of

the account access and use relating to the crime under investigation. Such information allows

investigators to understand the geographic and chronological context of Facebook access, use, and

events relating to the crime under investigation. Additionally, PROVIDER builds geo-location

into some of its Facebook services. Geo-location allows, for example, users to “tag” their location

in posts and Facebook “friends” to locate each other. This geographic and timeline information

may tend to either inculpate or exculpate the Facebook account user. Last, Facebook account

activity may provide relevant insight into the Facebook account user’s state of mind as it relates

to the offense under investigation. For example, information on the Facebook account may

indicate the owner’s motive and intent to commit a crime (e.g., information indicating a plan to



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commit a crime), or consciousness of guilt (e.g., deleting account information in an effort to

conceal evidence from law enforcement).4

       71.     Based on my training and experience, I know that evidence of who controlled, used,

and/or created a PROVIDER account may be found within the user-generated content created or

stored by the PROVIDER subscriber. This type of evidence includes, for example, personal

correspondence, personal photographs, purchase receipts, contact information, travel itineraries,

and other content that can be uniquely connected to a specific, identifiable person or group. In

addition, based on my training and experience, I know that this type of user-generated content can

provide crucial identification evidence, whether or not it was generated close in time to the offenses

under investigation. This is true for at least two reasons. First, people that commit crimes

involving electronic accounts (e.g., e-mail accounts) typically try to hide their identities, and many

people are more disciplined in that regard right before (and right after) committing a particular

crime. Second, earlier-generated content may be quite valuable, because criminals typically

improve their tradecraft over time. That is to say, criminals typically learn how to better separate

their personal activity from their criminal activity, and they typically become more disciplined

about maintaining that separation, as they become more experienced. Finally, because e-mail

accounts and similar PROVIDER accounts do not typically change hands on a frequent basis,




4
  At times, social media providers such as PROVIDER can and do change the details and
functionality of the services they offer. While the information in this section is true and accurate
to the best of my knowledge and belief, I have not specifically reviewed every detail of
PROVIDER’s services in connection with submitting this application for a search warrant.
Instead, I rely upon my training and experience, and the training and experience of others, to set
forth the foregoing description for the Court.


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identification evidence from one period can still be relevant to establishing the identity of the

account user during a different, and even far removed, period of time.

                  REQUEST TO SUBMIT WARRANT BY TELEPHONE
                    OR OTHER RELIABLE ELECTRONIC MEANS

        72.    I respectfully request, pursuant to Rules 4.1 and 41(d)(3) of the Federal Rules of

Criminal Procedure, permission to communicate information to the Court by telephone in

connection with this Application for a Search Warrant. I submit that Assistant U.S. Attorney Leslie

Goemaat, an attorney for the United States, is capable of identifying my voice and telephone

number for the Court.

                                         CONCLUSION

        73.    Based on the forgoing, I request that the Court issue the proposed search warrant.

Because the warrant will be served on PROVIDER, who will then compile the requested records

at a time convenient to it, there exists reasonable cause to permit the execution of the requested

warrant at any time in the day or night. Pursuant to 18 U.S.C. § 2703(g), the presence of a law

enforcement officer is not required for the service or execution of this warrant.

                                                   Respectfully submitted,



                                                   STUART BRONSTEIN
                                                   Special Agent
                                                   Federal Bureau of Investigation




        Subscribed and sworn pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3) on February 25,
2021.

        _________________________________________
        UNITED STATES MAGISTRATE JUDGE


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                    CERTIFICATE OF AUTHENTICITY OF DOMESTIC
                     RECORDS PURSUANT TO FEDERAL RULES OF
                            EVIDENCE 902(11) AND 902(13)

        I, _________________________________, attest, under penalties of perjury by the laws
of the United States of America pursuant to 28 U.S.C. § 1746, that the information contained in
this certification is true and correct. I am employed by _________________________________
(“PROVIDER”), and my title is ____________________________________________________.
I am a custodian of records for PROVIDER, and I am qualified to authenticate the records attached
hereto because I am familiar with how the records were created, managed, stored, and retrieved. I
state that the records attached hereto are true duplicates of the original records in the custody of
PROVIDER. The attached records consist of:

        ________________________________________________________________________
        [GENERALLY DESCRIBE RECORDS (pages/CDs/megabytes)]

        I further state that:

        a.     all records attached to this certificate were made at or near the time of the
occurrence of the matter set forth by, or from information transmitted by, a person with knowledge
of those matters, they were kept in the ordinary course of the regularly conducted business activity
of PROVIDER, and they were made by PROVIDER as a regular practice; and

       b.     such records were generated by PROVIDER’s electronic process or system that
produces an accurate result, to wit:

                1.     the records were copied from electronic device(s), storage medium(s), or
file(s) in the custody of PROVIDER in a manner to ensure that they are true duplicates of the
original records; and

                2.     the process or system is regularly verified by PROVIDER, and at all times
pertinent to the records certified here the process and system functioned properly and normally.

       I further state that this certification is intended to satisfy Rules 902(11) and 902(13) of the
Federal Rules of Evidence.




 Date                                 Signature




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